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12

13                               UNITED STATES DISTRICT COURT

14                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                  SAN FRANCISCO DIVISION

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18   IN RE: BABY FOOD PRODUCTS LIABILITY Case No. 24-md-3101-JSC
     LITIGATION
                                         MDL 3101
19

20                                                 Hon. Jacqueline Scott Corley

21   This Document Relates to:                     [PROPOSED] ORDER RE: TIMING OF
     ALL ACTIONS                                   SHORT FORM COMPLAINT FILING
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                                                           [PROPOSED] ORDER RE: TIMING OF SHORT
                                                                        FORM COMPLAINT FILING
                                                                        CASE NO. 3:24-MD-3101-JSC
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 1          Having reviewed the Parties’ May 7, 2025 Joint Notice of Filing Short Form Complaint

 2   and the Parties’ Revised Short Form Complaint attached thereto, the Court hereby ORDERS the

 3   Parties to comply with the following deadlines:

 4          •      All existing Plaintiffs must file their Short Form Complaints within 60 days from
 5                 the date of the filing of this Proposed Order (i.e., by July 7, 2025).

 6          •      All existing Plaintiffs must submit their Plaintiff Fact Sheets within 60 days of the
 7                 filing deadline for the Short Form Complaints (i.e., by September 7, 2025).

 8          •      New Plaintiffs whose complaints are transferred into the MDL must file their Short
 9                 Form Complaints within 30 days of their transfer and will submit their Plaintiff
10                 Fact Sheets in accordance with Pretrial Order No. 15 (i.e., within 60 days
11                 thereafter) (ECF 440).
12          •      Any New Plaintiffs filing directly in the MDL must utilize the Short Form
13                 Complaint in their filing and submit their Plaintiff Fact Sheets in accordance with
14                 Pretrial Order No. 15.
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            IT IS SO ORDERED.
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17   Dated: ______________________
                                                            Hon. Jaqueline S. Corley
18                                                          United States District Judge
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                                                               [PROPOSED] ORDER RE: TIMING OF SHORT
                                                                            FORM COMPLAINT FILING
                                                                            CASE NO. 3:24-MD-3101-JSC
